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Rev. ϭϭͬϮϬϮϬ



                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


CARTER PAGE


                       Plaintiff
                                                       Civil No.                 20-3460        (JEB)
                 vs.

JAMES B. COMEY, ET AL                                 Category L



                           Defendant




                                       REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on     11/15/2021     from Judge Florence Y. Pan

to Judge James Boasberg                               by direction of the Calendar Committee.



                                     (Randomly Reassigned)


                                                                 JUDGE 58'2/3+&2175(5$6
                                                                 Chair, Calendar and Case
                                                                 Management Committee


cc:             Judge Florence Y. Pan                              & Courtroom Deputy
                Judge James Boasberg                          & Courtroom Deputy
               Liaison, Calendar and Case Management Committee
